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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA,

2:20-cr-94
Vv.

JUSTIN SEAN JOHNSON,

Defendant.

CHANGE OF PLEA
AND NOW, the defendant in the above entitled case hereby
withdraws his plea of not guilty and now pleads guilty to Count 1
and Count 39 of the Indictment in open court this 20" day of May,

2021.

CS /
ought n Sear. Johny
(Defendant’s Signature)

 

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(Attorney for Defendant’s Si nature)
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